           Case 4:06-po-00354-GRS Document 2 Filed 10/17/06 Page 1 of 1

                                                                                    FILED
                                                                          U.S . r' "TRtCT COUR T
                      UNITED STATES DISTRICT COURT FOR TH E

                          SOUTHERN DISTRICT OF GEORGIA
                                                                               ." ; 17   AM   8: 2 7

                                    SAVANNAH DIVISIO N

UNITED STATES OF AMERICA                         INFORMATION NO.

      V.
                                                                   CR4 O6 .3 . 4
                                                  VIO : 18 U.S.C. 7 and 1 3
                                                         O.C.G.A
TROY D . BROWN                                           40-5-121
                                                         40-6-181
                                                         Driving under Suspended Licens e
                                                         Speedin g

                               PENALTY INFORMATION

Count On e                                     Fine of NLT $500, NMT $1,000
Driving under Suspended License                Imp risonment NLT 2 days,
(as to each count if 1st offense)              NMT 12 months or both
                                               Special Assessment of $2 5

Count One                                      Fine of NLT $1,000, NMT $2,500
Driving under Suspended License                Imprisonment NLT 10 days,
(as to each count if 2nd or                    NMT 12 months or bot h
subsequent offense )                           Special Assessment of $2 5

Count Two                                     Fine of NMT $1,000
Speeding                                      Imprisonment of NMT 6 months
                                              or both
                                              Special Assessment of $1 0




                                               Respectfully submitted ,


                                               LISA GODBEY WOOD
                                               UNITED STATES ATTORNE Y




                                               Special 4ssistant U.S. Attorney
